                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JEFFREY CLAYTON KANDIES                        )
                                               )
                         Petitioner,           )
                                               )
          v.                                   )        FILE NO. 1:99CV00764
                                               )
KEITH LASSITER, Warden,                        )
Central Prison                                 )
Raleigh, North Carolina,                       )
                                               )
                       Respondent.             )

                        _________________________________________

                             SUPPLEMENTAL BRIEF
                          REGARDING THE EFFECTS OF
               CULLEN V. PINHOLSTER,      U.S. , 131 S. CT. 1388 (2011),
                       ON THIS COURT’S REVIEW OF THE
                   MAGISTRATE JUDGE’S RECOMMENDATION
                    TO DENY THE WRIT OF HABEAS CORPUS
                                   Local Rule 7.3
                                  28 U.S.C. § 2254
                    _________________________________________

       NOW COMES THE RESPONDENT, by and through his undersigned counsel, providing

the following supplemental arguments as ordered by the Court, addressing the effects of the United

States Supreme Court decision in Cullen v. Pinholster, ___ U.S. ___, 131 S. Ct. 1388 (2011), on this

Court’s review of the Magistrate Judge’s Recommendation to deny the writ of habeas corpus.

                             Procedural History and Pertinent Facts

       At the direction of the Court, Respondent dispenses with a full recitation of the long and

tortured procedural history of the present case. Briefly and pertinent to the issues addressed by this

Supplement Brief, Petitioner was convicted of the first-degree murder and first-degree rape of four-

year-old Natalie Osborne. Petitioner was sentenced to death, and the North Carolina Supreme Court

affirmed Petitioner’s conviction and sentence. See State v. Kandies, 342 N.C. 419, 467 S.E.2d 67,




      Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 1 of 19
cert. denied, 519 U.S. 894 (1996).      Petitioner’s case proceeded through state and federal post-

conviction review. The United States Supreme Court granted Petitioner’s certiorari petition filed

in that court following state and federal post-conviction review, and remanded the case to the United

States Court of Appeals for the Fourth Circuit for consideration in light of Miller-El v. Dretke, 545

U.S. 231 (2005) (Miller-El II), which further remanded the case to this Court. See Kandies v. Polk,

545 U.S. 1137 (2005). The Magistrate Judge allowed the parties to supplement the case record with

evidence that was not submitted to the state court; considered that evidence; and on April 5, 2011,

issued a Recommendation that Petitioner’s petition for writ of habeas corpus be denied. (Docket No.

124) One day prior to the issuance of the Recommendation, but apparently not in time to inform the

Magistrate Judge’s decision, the United States Supreme Court held in Cullen v. Pinholster,        U.S.

 ,   , 131 S. Ct. 1388, 1398 (2011), that federal habeas review “is limited to the record that was

before the state court that adjudicated the claim on the merits.”       Petitioner has objected to the

Magistrate Judge’s Recommendation, and Respondent has responded to those Objections.

                                          Legal Argument

       Petitioner’s petition for writ of habeas corpus filed pursuant to 28 U.S.C. § 2254 should
be denied without an evidentiary hearing and without consideration of any evidence not in the
state-court record.

        This case is now before the Court for it to conduct a de novo review of those portions of the

Magistrate Judge’s Recommendation to which Petitioner objected, and in so doing, to determine

whether to “accept, reject, or modify, in whole or in part, the findings or recommendation . . . or [to]

recommit the matter to the magistrate judge with instructions.” 28 U.S.C. § 636(b)(1). This Court

should adopt the Magistrate Judge’s ultimate recommendation to deny the habeas writ, but should

modify those portions of the Recommendation in which the Magistrate Judge considered evidence

submitted for the first time in federal court.

        1.      The Supreme Court’s decision in Cullen v. Pinholster precludes this Court from
                considering evidence not submitted to the state court.

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      Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 2 of 19
         In Cullen v. Pinholster,   U.S. at    , 131 S. Ct. at 1398, the United States Supreme Court

held that “review under [28 U.S.C. ]§ 2254(d)(1) is limited to the record that was before the state

court that adjudicated the claim on the merits." As such, “[i]f a claim has been adjudicated on the

merits by a state court, a federal habeas petitioner must overcome the limitation of § 2254(d)(1) on

the record that was before the state court." Id. at 1400. It follows that, “a federal court is precluded

from supplementing the record with facts adduced for the first time at a federal evidentiary hearing.”

Jackson v. Kelly, 650 F.3d 477, 492 (4th Cir. 2011).

         In Jackson v. Kelly, 650 F.3d. 477, the district court held an evidentiary hearing based upon

an ineffective assistance of counsel claim prior to the United States Supreme Court issuing its

opinion in Pinholster. Jackson, 650 F.3d at 485. By the time the case reached the Fourth Circuit,

Pinholster was published. Thus, in light of Pinholster, the Fourth Circuit in Jackson considered the

petitioner’s habeas claims under the appropriate standards based solely on the state-court record and

without regard to any facts adduced in federal court. Jackson, 650 F.3d at 492.

         In a case procedurally similar to Jackson, Burr v. Branker, F. Supp. 3d ___, ___, 2012 U.S.

Dist. LEXIS 74315 (M.D.N.C. May 30, 2012) (No. 1:01CV393), appeal pending, No. 12-4 (4th Cir.

filed June 20, 2012), this Court followed the holding of Jackson. In Burr, the Magistrate Judge,

without the benefit of Pinholster, granted the State’s motion to expand the record and for discovery,

and considered evidence gathered during the federal court proceeding in issuing his recommendation.

Burr,    F. Supp. 3d at ___, 2012 U.S. Dist. LEXIS 74315, at *8. After Pinholster was issued, this

Court adopted the recommendation of the Magistrate Judge in Burr upon de novo review, but did

so considering only that evidence presented in state court. Burr,       F. Supp. 3d at ___, 2012 U.S.

Dist. LEXIS 74315, at *8-*9.

         In the present case, this Court is bound by Pinholster, as was the Fourth Circuit in Jackson,

and this Court in Burr, to conduct a de novo review of Petitioner’s case without regard to the

                                                  -3-




        Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 3 of 19
evidence presented in federal court. As this Court recognized regarding the case of the petitioner

in Burr,

         [l]ike the Fourth Circuit in Jackson, . . . the Magistrate Judge in this case "did not
         have the benefit of Cullen's guidance" when it granted the [parties’] motion[s] to
         expand the record and to conduct discovery. Jackson, 650 F.3d at 492.
         Consequently, the Magistrate Judge's "reliance on material developed [before the
         federal court] was at odds with [the] AEDPA's placement of primary responsibility
         [for habeas review] with the state courts," albeit unknowingly. Id. (internal quotation
         marks omitted) (citing Pinholster, 131 S. Ct. at 1399). Because this court now has
         the benefit of Pinholster, like the Fourth Circuit in Jackson, this court [should be]
         "[m]indful that evidence introduced in a federal court has no bearing on § 2254(d)(1)
         review." Jackson, 650 F.3d at 492 (internal quotation marks omitted). Consequently,
         this court [should] "proceed[] to assess [Kandies] petition on the basis of the facts
         contained in the state-court record." Id.

Burr,      F. Supp. 3d at ___, 2012 U.S. Dist. LEXIS 74315, at *8-*9 (most alterations in original).

         Notably, the Fourth Circuit has emphasized that, for Pinholster to apply, the state court must

have previously adjudicated the merits of the claim presented for federal habeas review. In Winston

v. Kelly, 592 F.3d 535 (4th Cir.) (Winston I), cert. denied, ___ U.S. ___, 131 S. Ct. 127 (2010), the

Fourth Circuit concluded that the petitioner was permitted to introduce new evidence in federal court

to support one of his habeas claims. Id. at 555. This was because the state court did not adjudicate

the claim; the standard dictated by § 2254(d)(1) did not apply; and thus, the federal court could

consider new evidence. Id. at 555. The court reasoned that, although the petitioner raised the claim

in state court, the state court’s adjudication thereof was not an actual “adjudication on the merits”

as defined by § 2254(d)(1), because the evidence the petitioner introduced in federal court was

material; the state court had not “permitted further development of the facts,” which would have

allowed for the submission of the material evidence in state court; and thus, the state-court record

was “materially incomplete.” Id. at 555-56.

         The United States Supreme Court ruling in Pinholster was issued after the Fourth Circuit’s

                                                  -4-




        Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 4 of 19
decision in Winston I. It could have been argued after Pinholster, that the United States Supreme

Court in essence overruled the principles espoused in Winston I, or at the very least, called the

analysis therein into question. However, in Winston v. Pearson, 683 F.3d 489 (4th Cir. 2012)

(Winston II), cert. denied, 2013 U.S. LEXIS 1631 (Feb. 25, 2013), the Fourth Circuit concluded that

“nothing in Pinholster indicates that the [Supreme Court's] disposition casts doubt on-much less

overrules-our discussion of the adjudicated-on-the-merits requirement in Winston I." Winston II,

683 F.3d at 501-02. In Winston II, the circuit court maintained that § 2254(d) did not apply to the

case before it, even in light of Pinholster, because it was law of the case as established in Winston

I, and because Pinholster only applied where there had been an adjudication on the merits in state

court. Winston II, 683 F.3d at 501-03. The state court’s “unreasonable denial of the [Winston

petitioner’s] requests for discovery and an evidentiary hearing, . . . combined with the material nature

of the evidence that would have been produced in state court were appropriate procedures followed,”

rendered “[the state court’s] decision unbefitting of classification as an adjudication on the merits."

Winston II, 683 F.3d at 502.

       Here, there is no question that the state trial court and the state supreme court adjudicated

Petitioner’s claims brought pursuant to Batson v. Kentucky, 476 U.S. 79(1986). See Kandies, 342

N.C. at 434-37, 467 S.E.2d at 75-76. In addressing the Batson challenges during jury selection, the

North Carolina Superior Court did not unreasonably deny, or fail to follow proper procedures in

denying, Petitioner’s request for discovery or disclosures that would have allowed him to expand the

state-court record to include such things as any alleged historical evidence of discrimination. As

noted by the Magistrate Judge in his Recommendation, if there was such historical evidence,

“nothing prevented Petitioner from submitting the evidence to the trial court prior to trial and seeking


                                                  -5-




      Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 5 of 19
discovery at that point, or even from presenting any evidence he had on this issue at the Batson

hearing during trial.” (Docket No. 124 at 15) In fact, “Petitioner has never asserted that he was

denied the opportunity to present such historical evidence in the trial court.” (Id.)

       The North Carolina Superior Court did deny Petitioner’s request for disclosure of criminal

records possessed by the State that the prosecution used to challenge four African-American jurors.

However, as found by the North Carolina Supreme Court in the present case, the Superior Court’s

denial of Petitioner’s request was proper under North Carolina statutory law. See State v. Kandies,

342 N.C. at 437-38, 467 S.E.2d at 77. And, as the Magistrate Judge duly recognized in his

Recommendation, this Court is prohibited from reexamining the North Carolina Supreme Court’s

determination of this, a state-law issue. See Estelle v. McGuire, 502 U.S. 62, 67-68 (1991). Because

the North Carolina courts were not “unreasonable” in denying Petitioner’s request for the State’s

files and, moreover, followed “appropriate procedures” in doing so, the North Carolina Supreme

Court’s denial of Petitioner’s Batson claims is undoubtedly “[]befitting of classification as an

adjudication on the merits."1   Winston II, 683 F.3d at 502. It follows that this Court must not

consider the evidence submitted by the parties that was not presented to the state courts, and

Petitioner is not entitled to any evidentiary hearing at which he can submit even more evidence

which cannot be considered.2 See Jackson, 650 F.3d at 492.


       1
         It is also worth nothing that nothing prevented Petitioner from gathering the African-
American jurors’ and white jurors’ criminal records for comparison and to attempt to rebut the
State’s reasons for the strikes at the time of jury selection.
       2
        Notably, in Pinholster, the United Supreme Court rejected the argument that its application
of § 2254(d) in that case would bar all federal evidentiary hearings, thus rendering the statutory
requirements for holding a federal evidentiary hearing contained in 28 U.S.C. § 2254(e)(2)
purposeless. Pinholster, U.S. at , 131 S. Ct. at 1401. The high court noted that the requirements
of § 2254(e)(2) still had “force where § 2254(d)(1) does not bar federal habeas relief." Id. One

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      Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 6 of 19
       2.      Under the highly deferential standard governing this Court’s review, Petitioner
               is not entitled to relief on his Batson claim.

       Where, as here, the state court has adjudicated the habeas corpus claim at issue on the merits,

this Court may grant relief only if the state-court adjudication on the merits, even in a summary or

unexplained order, “resulted in a decision that was contrary to, or involved an unreasonable

application of, clearly established Federal law, as determined by the Supreme Court of the United

States” or "was based on an unreasonable determination of facts, in light of the evidence presented

in the State court proceeding." 28 U.S.C. § 2254(d)(1) and (d)(2); see also Harrington v. Richter,

  U.S. , 131 S. Ct. 770, 178 L. Ed. 2d 624 (2011). The above standard for reviewing the state

court’s decision is highly deferential. The Harrington opinion includes the following guidance and

mandates:

       [a.]    For purposes of § 2254(d)(1), "an unreasonable application of federal law is
       different from an incorrect application of federal law." []

       [b.]    A state court's determination that a claim lacks merit precludes federal habeas
       relief so long as "fairminded jurists could disagree" on the correctness of the state
       court's decision. [] ...

       [c.]     [A] habeas court must determine what arguments or theories supported or, as
       here, could have supported, the state court's decision; and then it must ask whether
       it is possible fairminded jurists could disagree that those arguments or theories are
       inconsistent with the holding in a prior decision of this Court. ...

       [d.]    It bears repeating that even a strong case for relief does not mean the state
       court's contrary conclusion was unreasonable. []

       [e.]    If this standard is difficult to meet, that is because it was meant to be.
       [AEDPA] preserves authority to issue the writ in cases where there is no possibility
       fairminded jurists could disagree that the state court's decision conflicts with this
       Court's precedents. It goes no farther. ... As a condition for obtaining habeas corpus


example would be where there was no adjudication on the merits in state court. Id.


                                                 -7-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 7 of 19
       from a federal court, a state prisoner must show that the state court's ruling ... was so
       lacking in justification that there was an error well understood and comprehended in
       existing law beyond any possibility for fairminded disagreement.

       The reasons for this approach are familiar. "Federal habeas review of state
       convictions frustrates both the States' sovereign power to punish offenders and their
       good-faith attempts to honor constitutional rights." [] It "disturbs the State's
       significant interest in repose for concluded litigation, denies society the right to
       punish some admitted offenders, and intrudes on state sovereignty to a degree
       matched by few exercises of federal judicial authority." []...

       [f.]    Section 2254(d) is part of the basic structure of federal habeas jurisdiction,
       designed to confirm that state courts are the principal forum for asserting
       constitutional challenges to state convictions.

Harrington,    U.S. at   , 131 S. Ct. at 786-88.

       For the reasons submitted by Respondent in its prior filings in this Court, and especially in

light of Harrington and Pinholster, Petitioner cannot prevail on his Batson claim. This is because

there is no question that "fair minded jurists" could disagree, or for that matter agree, with the

correctness of the state court decision, based on the record before the state court. See Harrington

supra; see also Bell v. Cone, 543 U.S. 447, 455, 1255 S. Ct. 847, 160 L. Ed. 2d 881 (2005) (federal

habeas statute "dictates a highly deferential standard for evaluating state-court rulings, which

demands that state-court decisions be given the benefit of the doubt").

       3.      The North Carolina Supreme Court’s decision rejecting Petitioner’s Batson
               claim is not contrary to or an unreasonable application of Batson, even when
               considering the United States Supreme Court’s decision in Miller-El II.

       As the Fourth Circuit has recognized, “Miller-El II did not alter Batson claims in any way.”

Golphin v. Branker, 519 F.3d 168, 186 (4th Cir.), cert. denied, 555 U.S. 975 (2008). In fact, the high

court could not have altered the Batson analysis. Rather, it was obligated to follow the clearly

established law because Miller-El II was a case on federal habeas review. See Golphin, 519 F.3d



                                                   -8-




      Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 8 of 19
at 186. It follows that the Batson three-step process, applied by the North Carolina Supreme Court

in Petitioner’s case, still governs claims that there was an equal protection violation in jury selection.

        The North Carolina Supreme Court’s adjudication of Petitioner’s claim under the three-step

process was not contrary to or an unreasonable application of relevant United States Supreme Court

case law, even in light of the decision in Miller-El II. As noted above, Miller-El II did not

fundamentally change the relevant legal analysis. The only thing the Miller-El II decision did

regarding analysis of Batson claims was simply to emphasize that certain forms of evidence were

not to be disregarded when a Batson claim is analyzed. Murphy v. Dretke, 416 F.3d 427, 439 (5th

Cir. 2005) (concluding that in Miller-El II, "[t]he Court did not announce any new elements or

criteria for determining a Batson claim, but rather simply made a final factual and evidentiary

determination of that particular petitioner's Batson claim"). As detailed below, the North Carolina

state courts have not disregarded the forms of evidence Miller-El II emphasized were important in

the Batson analysis.

        Moreover, for the reasons stated above, the Supreme Court’s decision in Pinholster makes

it clear that such evidence must be derived from the existing state court record where, as here, the

relevant federal habeas claim was adjudicated on its merits in state court. Petitioners bringing Batson

claims are not excused from following the governing principles of Pinholster. There can be no

different conclusion derived from the United States Supreme Court’s remand in the present case.

The remand gave no direction to the Fourth Circuit or this Court that they were somehow required

to consider evidence outside of the state-court record when reviewing Petitioner’s Batson claim. In

fact, the present case was one of many in what appears to have been a blanket remand of cases

following the decisions in Miller-El I and Miller-El II. See, e.g., Barnette v. United States, 546 U.S.


                                                   -9-




      Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 9 of 19
803 (2005); Snyder v. Louisiana, 545 U.S. 1137 (2005); Hightower v. Schofield, 545 U.S. 1124

(2005); Coulter v. Illinois, 537 U.S. 1230 (2003).

       As note above, in Miller-El II the United States Supreme Court emphasized certain pieces

of evidence that could provide a factual basis for establishing discriminatory intent in the Batson

analysis. For instance, the Court pointed to evidence relating to the side-by-side comparisons of

struck African-American jurors with similarly situated white jurors who were allowed to serve.

Miller-El II, 545 U.S. at 241. In so doing, the Supreme Court noted that “[i]f a prosecutor’s

proffered reason for striking a black panelist applies just as well to an otherwise-similar nonblack

who is permitted to serve, that is evidence tending to prove purposeful discrimination to be

considered at Batson’s third step.” Id. In so doing, the Supreme Court emphasized that it had never

announced “a rule that no comparison is probative unless the situation of the individuals compared

is identical in all respects, and there is no reason to accept one.” Id. at 247 n.6. The Court went on

to note that “[a] per se rule that a defendant cannot win a Batson claim unless there is an exactly

identical white juror would leave Batson inoperable; potential jurors are not products of a set of

cookie cutters.” Miller-El II, 545 U.S. at 247 n.6

       Petitioner has previously argued in this Court that the North Carolina Supreme Court’s

analysis of his Batson claim is contrary to or an unreasonable application of the above-noted

language from Miller-El II. In so doing, Petitioner points to the following passage from the North

Carolina Supreme Court’s opinion in his case:

       Defendant's approach "involves finding a single factor among the several articulated
       by the prosecutor . . . and matching it to a passed juror who exhibited that same
       factor." We have rejected this approach and do so again because it "fails to address
       the factors as a totality which when considered together provide an image of a juror
       considered . . . undesirable by the State." We conclude that the trial court did not err


                                                -10-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 10 of 19
        in overruling defendant's objection to the State's use of its peremptory challenges for
        these jurors.

Kandies, 342 N.C. at 435-36, 467 S.E.2d at 75-76 (emphasis added) (citations omitted). The above

noted portion of the North Carolina Supreme Court’s opinion does not evince reasoning that

contravenes the United States Supreme Court’s analysis in Miller-El II. Despite Petitioner’s

argument to the contrary, the North Carolina Supreme Court was not disregarding comparative juror

analysis or imposing a per se rule against it. In fact, the North Carolina Supreme Court noted in

Kandies that in determining “the presence or absence of intentional discrimination,” our state courts

look at, among other things, “whether similarly situated whites were accepted as jurors.” Kandies,

342 N.C. at 435, 467 S.E.2d at 75; see also State v. Robinson, 336 N.C. 78, 19, 443 S.E.2d 306, 298

(1994) (same), cert. denied, 513 U.S. 1089 (1995). Compare United States v. Barnette, 644 F.3d

192, 205 (4th Cir. 2011) (recognizing that, prior to Miller-El II, the circuit court had an actual rule

that “comparative juror analysis was not a critical element of a Batson claim”). Nor was the state

court requiring that the prospective jurors be “a set of cookie cutters” as part and parcel of the

comparative analysis. Miller-El II 545 U.S. at 247 n.6. In Miller-El II, the United States Supreme

Court did not prohibit what the North Carolina Supreme Court was requiring--an examination of not

just one reason but all the reasons articulated by the prosecutor in striking a prospective juror, as

some of the other reasons for a strike might render a prospective juror highly unfavorable to the state.

In fact, the United States Supreme Court instructed in Miller-El I that “the credibility of reasons

given can be measured by ‘how reasonable, or how improbable, the explanations are; and by whether

the proffered rationale has some basis in accepted trial strategy.” Miller-El I, 537 U.S. at 339,

quoted in Miller-El II, 545 U.S. at 247. It would be illogical, even in light of Miller-El II, to require



                                                  -11-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 11 of 19
a trial court to find a strike pretextual based upon a single characteristic in one prospective juror that

is unfavorable to the state’s trial strategy, when that characteristic is exhibited by another prospective

juror, but it is outweighed by ones that are more favorable to the state.

        In Nicklasson v. Roper, 491 F.3d 830 (8th Cir. 2007), cert. denied, 553 U.S. 1007 (2008), the

Eighth Circuit rejected an argument regarding comparative juror analysis similar to the one Petitioner

presents in the instant case. In Nicklasson, the petitioner argued that the peremptory strike of two

African-American jurors was racially motivated and thus violated Batson. Nicklasson, 491 F.3d at

841. Citing that portion of Miller-El II concerning comparative juror analysis noted above, the

Nicklasson petitioner argued that the reasons for the strikes applied equally to non-African-American

jurors. Nicklasson, 491 F.3d at 841. The state countered that there were other, relevant differences

between the African-American and non-African-American jurors. Id. In response, the petitioner

contended that accepting the state’s argument would impose a per se rule prohibited by Miller-El II.

Nicklasson, 491 F.3d at 841.

        The Eighth Circuit rejected the Nicklasson petitioner’s argument. The court began by

acknowledging that Miller-El II barred courts from adopting a per se rule against comparative juror

analysis. However, the circuit court went on to note that the Miller-El II opinion “provides that ‘the

credibility of the reasons given by the prosecution may be measured by how reasonable, or how

improbable, the explanations are; and by whether the proffered rationale has some basis in accepted

trial strategy,’” and that “[t]his approach accounts for the nature and extent of the differences.”

Nicklasson, 491 F.3d at 841 (citing Miller-El II, 545 U.S. at 339). Specifically regarding the

arguments of the Nicklasson petitioner, the Eighth Circuit held as follows,

        Nicklasson's reliance on Miller-El does not bolster his argument because the


                                                  -12-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 12 of 19
        Supreme Court's finding of a Batson violation did not hinge entirely on the closeness
        of the excluded black juror's testimony to that of the white, but on the "totality of the
        relevant facts" pertaining to the prosecutor's conduct during the defendant's trial.
        Miller-El, 545 U.S. at 239. Nicklasson does not offer similarly compelling "totality
        of the record" evidence and instead relies entirely upon allegedly inconsistent
        treatment of jurors who gave similar responses. Although the inconsistent application
        of a prosecutor's peremptory challenge rationale between similarly situated white and
        black jurors constitutes evidence of purposeful discrimination, see id. at 241, there
        is not, nor should there be, a per se rule stating that the presence of such evidence
        alone must always constitute "clear and convincing" evidence sufficient to satisfy
        Nicklasson's burden no matter its strength.

Nicklasson, 461 F.3d at 842-43 (footnotes omitted).

        The reason that the North Carolina Supreme Court rejected Petitioner’s comparative juror

analysis is similar to the reason the Eighth Circuit rejected the petitioner’s argument in Nicklasson.

As the North Carolina Supreme Court’s rejection of Petitioner’s comparative-juror argument

indicated, here, by focusing on one factor or reason for certain strikes, rather than considering all of

them, Petitioner’s analysis did not account for the nature and extent of the differences between the

prospective jurors. As such, similar to the state court in Nicklasson, the North Carolina Supreme

Court’s reasoning in rejecting Petitioner’s comparative juror analysis argument was not, as Petitioner

contends, contrary to or an unreasonable application of Miller-El II.

        In addition to emphasizing the importance of comparative juror analysis, the United States

Supreme Court in Miller-El II undertook a detailed analysis of the prosecution’s disparate

questioning of prospective jurors to discern whether there was discriminatory intent in the use of

peremptory strikes. Miller-El II, 545 U.S. at 243-52 & 255-61. It is notable that even prior to the

Miller-El opinions, the North Carolina state courts looked at the questions asked by prosecutors in

determining whether there was the presence or absence of intentional discrimination. See Kandies,

342 N.C. at 435, 467 S.E.2d at 75.


                                                  -13-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 13 of 19
        In Miller-El II, the Supreme Court compared the questioning of certain African-American

jurors with that of certain prospective white jurors. Specifically, the Court contrasted the content

of the prosecution’s descriptions of capital punishment when questioning African-American jurors

to the description given to white jurors when they were questioned. Id. at 255. According to the

Supreme Court, the description of capital punishment in questions to a majority of African-American

jurors followed “the so-called graphic script, describing the method of execution in rhetorical and

clinical detail.” Id. The “graphic script questions,” were intended, the Miller-El petitioner argued,

“to prompt some expression of hesitation to consider the death penalty and thus to elicit plausibly

neutral grounds for a peremptory strike of a potential juror subjected to it, if not a strike for cause.”

Id. In contrast, the description of capital punishment in questions to prospective white jurors were

what the Supreme Court characterized as “bland,” as an effort to apparently elicit little or no

hesitation. Id. The Court further pointed to another type of disparate questioning by the prosecution

involving sentencing terms, which the Court noted could “fairly be called trickery.” Id. at 261.

        The prosecution in Miller-El II admitted that there was disparate questioning and questions

to trick jurors, but argued that they were employed based upon factors other than race. Id. at 253-54.

The Supreme Court disagreed citing not only the content of the questions and the statistical disparity

between the questions asked of African-Americans and those asks of whites, but also the other

evidence of discriminatory intent. Id. Supporting the Supreme Court’s conclusion that the Miller-El

prosecutions’ disparate questioning and other actions were racially motivated was the fact that “for

decades leading up to the time [Miller-El’s] case was tried prosecutors in the Dallas County office

had followed a specific policy of systemically excluding blacks from juries” and even had a manual

which contained an article “outlining the reasoning for excluding minorities from jury service.” Id.


                                                  -14-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 14 of 19
at 263-64. Moreover, the Court believed that the Miller-El prosecutors had manipulated a Texas jury

selection procedure known commonly as “shuffling” in a way that made “no sense except as [an

effort] to delay consideration of black jury panelist to the end of the week, when they might not even

be reached.” Id. at 265. According to the United States Supreme Court, in Miller-El’s case,

       [t]he prosecutors' chosen race-neutral reasons for the strikes do not hold up and are
       so far at odds with the evidence that pretext is the fair conclusion, indicating the very
       discrimination the explanations were meant to deny.

       The strikes that drew these incredible explanations occurred in a selection process
       replete with evidence that the prosecutors were selecting and rejecting potential
       jurors because of race.

Id. at 265-66.

       The evidence Petitioner points to in this case as allegedly establishing intentional discretion

simply does not demonstrate the existence of such and, in any regard, does not evince the state-

court’s decision that was contrary to or an unreasonable application of Batson, Miller-El II, or any

other relevant United States Supreme Court precedent. Despite Petitioner’s argument to the

contrary, there was no disparate questioning based upon race, and certainly nothing that can be

characterized as trickery, during jury selection at his trial. Petitioner has attempted to argue

contrarily that the State used two “scripts” to question jurors, one for African-American jurors

indicating to them that they have a duty to impose the death penalty, and one for white jurors

indicating to them that they must follow the law. (See, e.g., Docket No. 129 at 26-27) Petitioner has

constructed this argument out of whole cloth. There is no discernable, material difference between

the alleged lines of questioning on which Petitioner relies. There was no disparate questioning in

Petitioner’s case. Unlike the prosecution in Miller-El, the State has not admitted that there was

disparate questioning.


                                                 -15-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 15 of 19
        There certainly is not the depth of evidence here even comparable to what was identified as

racially motivated in Miller-El II. Petitioner does not allege, nor is there evidence in the record to

support, that the State blatantly used trickery during jury selection like the prosecution in Miller-El

II. Moreover, there is nothing indicating that the prosecution in the present case had a manual on,

policy for, or training in systemically excluding African-American jurors as did the prosecution in

Miller-El II. In sum, Petitioner’s allegations that there was disparate questioning are without merit

and lend no support to his argument that the state courts unreasonably applied Batson.

        Finally, even if the Court should find that the North Carolina Supreme Court’s rejection of

Petitioner’s Batson claim was somehow based upon flawed reasoning (which it was not), such does

not render the state court’s decision reversible in this proceeding. As the Fourth Circuit has

previously stated, “[i]n assessing the reasonableness of the state court’s application of federal law,

the federal courts are to review the result that the state court reached, not whether [its decision] [was]

well reasoned.” Wilson v. Ozmint, 352 F.3d 847, 855 (4th Cir. 2003) (citations and internal

quotation marks omitted) (second alteration in original), as amended, 357 F.3d 461 (4th Cir.), cert.

denied, 542 U.S. 923 (2004); see also Larry v. Branker, 552 F.3d 356, 365 (4th Cir. 2009) (same).

The United States Supreme Court decision in Harrington, in which the Court held that even state-

court summary adjudications are entitled to deferential review, emphasized that review under

§ 2254(d) is results based. Harrington,      U.S. at     , 131 S. Ct. at 784-86.

        Here, ultimately, the North Carolina Supreme Court concluded there was no Batson violation

in the State’s exercise of peremptory strikes during jury selection. For the reasons stated above and

previously articulated by Respondent in his filings in this Court, and based upon the analysis by this

Court and the Fourth Circuit in previously rejecting Petitioner’s Batson claim, the state-court


                                                  -16-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 16 of 19
adjudication here, regardless of the reasoning, is not contrary or an unreasonable application of

Batson. Therefore, pursuant to § 2254(d)(1) and (2), the North Carolina Supreme Court’s

adjudication of Petitioner’s Batson claim should not be overturned on federal habeas review. See

Harrington,   U.S. at , 131 S. Ct. at 787 (holding that federal courts owe state court adjudications

of constitutional claims a high level of deference, that the standards of § 2254(d) and (e) are

“difficult to meet,” and that they were meant to be so).

       It follows that the Court should adopt the Magistrate Judge’s Recommendation to deny the

writ of habeas corpus. In so doing, the Court should modify the Magistrate Judge’s recommended

ruling such that the supporting reasoning does not rely on any evidence not submitted in state court.




                                                -17-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 17 of 19
                                            Conclusion

       For the reasons stated above, Petitioner’s petition for writ of habeas corpus filed pursuant to

28 U.S.C. § 2254 should be denied.

              Respectfully submitted, this the 5th day of March, 2013.

                                      ROY COOPER
                                      ATTORNEY GENERAL

                                      /s/ Mary Carla Hollis
                                      Mary Carla Hollis
                                      Assistant Attorney General
                                      N.C. Bar No. 25731
                                      Email: mchollis@ncdoj.gov

                                      /s/ Danielle Marquis Elder
                                      Danielle Marquis Elder
                                      Special Deputy Attorney General
                                      N.C. Bar No. 19147
                                      Email: dmarquis@ncdoj.gov

                                      North Carolina Department of Justice
                                      Post Office Box 629
                                      Raleigh, North Carolina 27602
                                      Telephone: (919) 716-6500
                                      Facsimile: (919) 716-0001




                                                -18-




    Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 18 of 19
                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JEFFREY CLAYTON KANDIES                       )
                                              )
                        Petitioner,           )
                                              )
         v.                                   )          FILE NO. 1:99CV00764
                                              )
KEITH LASSITER, Warden,                       )
Central Prison                                )
Raleigh, North Carolina,                      )
                                              )
                      Respondent.             )

                              CERTIFICATE OF SERVICE

       I hereby certify that on this day, March 5, 2013, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the following ATTORNEYS FOR PETITIONER:

       M. GORDON WIDENHOUSE , JR
       mgwidenhouse@rwf-law.com, chenry@rwf-law.com, mgwidenhouse@yahoo.com

       SHELAGH KENNEY
       shelagh@cdpl.org, barrie@cdpl.org


                                                         /s/ Mary Carla Hollis
                                                         Mary Carla Hollis

                                                         /s/ Danielle Marquis Elder
                                                         Danielle Marquis Elder




                                                  -19-




     Case 1:99-cv-00764-WO-JLW Document 141 Filed 03/05/13 Page 19 of 19
